Case 2:04-cr-20159-SHl\/| Document 58 Filed 05/12/05 Page 1 of 2 PagelD 54

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iN THE UN|TED STATES DlSTRlCT COURT
Foa THE WESTERN DlsTarcT oF TENNEssEE 05 l“l.'£»_‘r’ l,? hit 9= im.;
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UNlTED STATES OF AMER|CA
Plaintitf,

VS.
CF{. NO. 04-20159-|3

|_AKE|TH HAIV|PTON,

Defendant.

 

OFlDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on |Vlarch 28, 2005. At that timel counsel for
the defendant requested a continuance to lVlay 3, 2005 for change ot plea.

The Court granted the request and set a change ot plea date of Tuesday l\/lay 3,
2005. The Court subsequently granted the defendant’s |Vlotion to Continue and re-set the
chancie of plea date for Tuesdav. Nlav 31. 2005 at 10:30 a.m., in Courtroom 1. 11th
Eggr of the Federal Building, lVlemphis, TN.

The period from May 3, 2005 through June 17, 2005 is excludable under 18 U.S.C.
§ 3161 (h)(B)(B)(i\/) because the ends of justice served in allowing for additional time to
prepare outweigh the need for a speedy tria|.

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lTls so oaDEaEDrhis ll day f ay,2005.

 

J. NlEL BREEN
Eo sTATEs olsTalcT JuDGE

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with Flu|e 55 and.ior 32(b) FHCrP on -’ -'C>

UNITD sATEs ISTRIC COURT - WEERN DISITRCT OF TENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 58 in
case 2:04-CR-20159 Was distributed by faX, mail, or direct printing on
May ]6, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

